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                  UNITED STATES DISTRICT COURT
                   SOUTHERN DISTRICT OF TEXAS
                       HOUSTON DIVISION

UNITED STATES OF AMERICA              '
                                      '
     v.                               '   CRIMINAL NO. 15-263-S
                                      '
ASHER ABID KHAN,                      '
        Defendant                     '

                                  
                       SENTENCE DATA SHEET

CRIMINAL NO.:                H-15-263-S

DEFENDANT:                   Asher Abid Khan

DEFENDANT=S
IMMIGRATION
STATUS:                      United States citizen

GUILTY PLEA:                 Count Six of the Superseding Indictment

SUBSTANCE
OF PLEA
AGREEMENT:             1. Defendant agrees to plead guilty to Count Six of the
                       Superseding Indictment, to persist in that plea through
                       sentencing, to waive his right to appeal the sentence, and
                       to not collaterally attack the conviction or sentences.

                       2. The United States agrees that it will not further
                       prosecute the defendant in the Southern District of Texas
                       for offenses arising from conduct charged in the
                       indictment. The United States also agrees: the
                       government will not oppose a two (2) point reduction for
                       acceptance of responsibility and an additional one (1)
                       point reduction under U.S.S.G. 3E1.1(b)(1). If the
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                      defendant persists in his guilty plea and fulfills the terms
                      of this agreement, and if the defendant provides
                      substantial assistance as determined by the United States,
                      in its sole discretion, a motion for downward departure
                      pursuant to U.S.S.G. §5K1.1 may be filed. Further, the
                      United States agrees to recommend the low end of the
                      guideline range.


COUNT SIX:            18 U.S.C. '2339B— Providing Material Support to a
                      Designated Foreign Terrorist Organization.

ELEMENTS
COUNT SIX:
                      (1) That the Defendant provided material support or
                          resources to a designated foreign terrorist
                          organization; and

                      (2) The Defendant knew that the organization either:
                          (a) has been designated a foreign terrorist
                          organization, or
                          (b) engages, or has engaged, in “terrorism” or
                          “terrorist activity.”

                The term “material support or resources” means any property,
                tangible or intangible, or service, including currency or monetary
                instruments or financial securities, financial services, lodging,
                training, expert advice or assistance, safehouses, false
                documentation or identification, communications equipment,
                facilities, weapons, lethal substances, explosives, personnel
                (including the defendant), and transportation, but does not
                include medicine or religious materials.

PENALTY
COUNT SIX:            Penalty for violation of this statute includes
                      imprisonment for a term not to exceed fifteen (15) years,
                      a fine of up to $250,000, or both.

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ALTERNATIVE
FINE BASED ON
GAIN OR LOSS:         Not Applicable

SENTENCING
GUIDELINES:           Applicable



SUPERVISED
RELEASE COUNT
SIX:          Any term of years or life.

SPECIAL
ASSESSMENT:           $100 per count of conviction

ATTACHMENT:           Plea Agreement




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